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 THE EDMON KELLER AND CLEAVETTE MAE
 STANLEY FAMILY TRUST;
 CRAIG B. STANLEY, Individually; and
 MILLICENT ANDRADE, Individually
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                  IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII


 ATOOI ALOHA, LLC, an Nevada                  CIVIL NO. 16-00347 JMS RLP
 Limited Liability Company; CRAIG B.
 STANLEY, as Trustee for THE                  THIRD PARTY CROSS-CLAIM
 EDMON KELLER AND CLEAVETTE                   DEFENDANT CRAIG B.
 MAE STANLEY FAMILY TRUST;                    STANLEY AS TRUSTEE FOR
 CRAIG B. STANLEY, individually;              EDMON KELLER A AND
 MILLICENT ANDRADE, individually,             CLEAVETTE MAE STANLEY
                                              FAMILY TRUST AND CRAIG B.
             Plaintiffs,                      STANLEY INDIVIDUALLY’S
       v.                                     ANSWER TO THIRD PARTY
                                              DEFENDANT ASSOCIATION OF
 ABNER GAURINO; AURORA                        APARTMENT OWNERS OF
 GAURINO; ABIGAIL GAURINO;                    DIAMOND HEAD SANDS’
 INVESTORS FUNDING                            CROSS-CLAIM; CERTIFICATE
 CORPORATION, as Trustee for an               OF SERVICE
 unrecorded Loan Participation
 Agreement dated June 30, 2014; APT-
 320, LLC, a Hawaii Limited Liability
 Company; CRISTETA C. OWAN, an
 individual; ROMMEL GUZMAN;
 FIDELITY NATIONAL TITLE &
 ESCROW OF HAWAII and DOES 1-
 100 Inclusive,

             Defendants.

 APT-320, LLC, a Hawaii Limited
 Liability Company,

             Third-Party Plaintiff,

       v.

 APARTMENT OWNERS OF
 DIAMOND HEAD SANDS,

             Third-Party Defendant.


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  THIRD PARTY CROSS-CLAIM DEFENDANT CRAIG B. STANLEY AS
 TRUSTEE FOR EDMON KELLER A AND CLEAVETTE MAE STANLEY
 FAMILY TRUST AND CRAIG B. STANLEY INDIVIDUALLY’S ANSWER
   TO THIRD PARTY DEFENDANT ASSOCIATION OF APARTMENT
       OWNERS OF DIAMOND HEAD SANDS’ CROSS-CLAIM

       Comes now, THIRD PARTY CROSS-CLAIM DEFENDANT CRAIG B.

 STANLEY AS TRUSTEE FOR EDMON KELLER A AND CLEAVETTE MAE

 STANLEY FAMILY TRUST AND CRAIG B. STANLEY INDIVIDUALLY’S

 (collectively, “STANLEY”) hereby answer, deny and admit the allegations of

 THIRD PARTY DEFENDANT ASSOCIATION OF APARTMENT OWNERS

 OF DIAMOND HEAD SANDS’ CROSS-CLAIM as follows:

       1.     In answer to Paragraph 1 of the Cross-Claim, STANLEY lacks

 sufficient information and knowledge to form a belief concerning the truth of the

 factual allegations, and on that basis denies such allegations.

       2.     In answer to Paragraph 2 of the Cross-Claim, STANLEY admits the

 allegations contained therein.

       3.     In answer to Paragraph 2 of the Cross-Claim, STANLEY lacks

 sufficient information and knowledge to form a belief concerning the truth of the

 factual allegations, and on that basis denies such allegations.

       4.     In answer to Paragraph 4 of the Cross-Claim, STANLEY admits the

 allegations contained therein.

       5.     In answer to Paragraph 5 of the Cross-Claim, STANLEY admits the

 allegations contained therein.


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       6.     In answer to Paragraph 6 of the Cross-Claim, STANLEY admits the

 allegations contained therein.

       7.     In answer to Paragraph 7 of the Cross-Claim, STANLEY admits the

 allegations contained therein.

       8.     In answer to Paragraph 8 of the Cross-Claim, STANLEY lacks

 sufficient information and knowledge to form a belief concerning the truth of the

 factual allegations, and on that basis denies such allegations.

       9.     In answer to Paragraph 9 of the Cross-Claim, STANLEY admits the

 allegations contained therein.

       10.    In answer to Paragraph 10 of the Cross-Claim, STANLEY admits the

 allegations contained therein.

       11.    In answer to Paragraph 11 of the Cross-Claim, STANLEY lacks

 sufficient information and knowledge to form a belief concerning the truth of the

 factual allegations, and on that basis denies such allegations.

       12.    In answer to Paragraph 12 of the Cross-Claim, STANLEY lacks

 sufficient information and knowledge to form a belief concerning the truth of the

 factual allegations, and on that basis denies such allegations.

       13.    In answer to Paragraph 13 of the Cross-Claim, STANLEY lacks

 sufficient information and knowledge to form a belief concerning the truth of the

 factual allegations, and on that basis denies such allegations.




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       14.    In answer to Paragraph 14 of the Cross-Claim, STANLEY lacks

 sufficient information and knowledge to form a belief concerning the truth of the

 factual allegations, and on that basis denies such allegations.

       15.    In answer to Paragraph 15 of the Cross-Claim, said paragraph is an

 incorporation paragraph, and therefore does not require a response. Nevertheless,

 STANLEY incorporates by reference as thought fully set forth herein, the

 responses contained in Paragraph 1 through 14, inclusive, of this Answer.

       16.    In answer to Paragraph 16 of the Cross-Claim, STANLEY lacks

 sufficient information and knowledge to form a belief concerning the truth of the

 factual allegations, and on that basis denies such allegations.

       17.    In answer to Paragraph 17 of the Cross-Claim, said paragraph is an

 incorporation paragraph, and therefore does not require a response. Nevertheless,

 STANLEY incorporates by reference as thought fully set forth herein, the

 responses contained in Paragraph 1 through 16, inclusive, of this Answer.

       18.    In answer to Paragraph 18 of the Cross-Claim, STANLEY lacks

 sufficient information and knowledge to form a belief concerning the truth of the

 factual allegations, and on that basis denies such allegations.

       19.    In answer to Paragraph 19 of the Cross-Claim, STANLEY lacks

 sufficient information and knowledge to form a belief concerning the truth of the

 factual allegations, and on that basis denies such allegations.




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        20.    In answer to Paragraph 20 of the Cross-Claim, STANLEY lacks

 sufficient information and knowledge to form a belief concerning the truth of the

 factual allegations, and on that basis denies such allegations.

                        FIRST AFFIRMATIVE DEFENSE
                   [FAILURE TO STATE SUFFICIENT FACTS]
        1.     As a first, separate and distinct affirmative defense, STANLEY

 alleges that the Cross-Claim, and each claim set forth therein, fails to state forth

 sufficient facts to constitute a claim for relief.

                        SECOND AFFIRMATIVE DEFENSE
                                [ESTOPPEL]
        2.     As a second, separate and distinct affirmative defense, these

 STANLEY alleges that Cross-Claim is estopped from asserting any claims that he

 may have, or have had, against STANLEY.

                      THIRD AFFIRMATIVE DEFENSE
               [ACTS, CONDUCT OR OMISSIONS OF OTHERS]
        3.     As a third, separate and distinct affirmative defense, STANLEY

 alleges that Cross-Claimant’s damages, if any, were caused, in whole or in part, by

 the acts, conduct or omissions of individuals or entities other than STANLEY, and

 who are therefore responsible for Cross-Claimant’s damages, if any, or at all.

                       FOURTH AFFIRMATIVE DEFENSE
                    [PROPORTIONATE FAULT OF OTHERS]

        4.     As an fourth, separate and distinct affirmative defense, STANLEY

 alleges that Cross-Claimant’s damages, if any, or at all, shall be denied or reduced

 based upon the proportionate fault of individuals or entities other than STANLEY.

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                       FIFTH AFFIRMATIVE DEFENSE
                 [ONGOING DISCOVERY AND INVESTIGATION]

        5.       As a fifth separate and distinct affirmative defense, STANLEY alleges

 that he has not yet completed discovery or investigation, and therefore reserves the

 right to supplement or add any affirmative defenses as investigation and discovery

 so justifies.

        DATED: Honolulu, Hawai’i, November 16, 2017.

                                         CADES SCHUTTE
                                         A Limited Liability Law Partnership


                                         /s/ Christopher T. Goodin
                                         DENNIS W. CHONG KEE
                                         W. KEONI SHULTZ
                                         CHRISTOPHER T. GOODIN

                                         and

                                         ECOFF CAMPAIN & TILLES, LLP
                                         A Limited Liability Partnership

                                         LAWRENCE C. ECOFF, Pro Hac Vice
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                                         STANLEY, as Trustee for THE EDMON
                                         KELLER AND CLEAVETTE MAE
                                         STANLEY FAMILY TRUST; CRAIG G.
                                         STANLEY, Individually; and MILLICENT
                                         ANDRADE, Individually




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                  IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII


 ATOOI ALOHA, LLC, an Nevada              CIVIL NO. 16-00347 JMS RLP
 Limited Liability Company; CRAIG B.
 STANLEY, as Trustee for THE              CERTIFICATE OF SERVICE
 EDMON KELLER AND CLEAVETTE
 MAE STANLEY FAMILY TRUST;
 CRAIG B. STANLEY, individually;
 MILLICENT ANDRADE, individually,

             Plaintiffs,

       v.

 ABNER GAURINO; AURORA
 GAURINO; ABIGAIL GAURINO;
 INVESTORS FUNDING
 CORPORATION, as Trustee for an
 unrecorded Loan Participation
 Agreement dated June 30, 2014; APT-
 320, LLC, a Hawaii Limited Liability
 Company; CRISTETA C. OWAN, an
 individual; ROMMEL GUZMAN;
 FIDELITY NATIONAL TITLE &
 ESCROW OF HAWAII and DOES 1-
 100 Inclusive,

             Defendants.

 APT-320, LLC, a Hawaii Limited
 Liability Company,

             Third-Party Plaintiff,

       v.

 APARTMENT OWNERS OF
 DIAMOND HEAD SANDS,

             Third-Party Defendant.
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                         CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was duly
 served upon the following parties via CM/ECF on November 16, 2017:
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                   FIDELITY NATIONAL TITLE &
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       DATED: Honolulu, Hawai’i, November 16, 2017.

                                    CADES SCHUTTE
                                    A Limited Liability Law Partnership


                                    /s/ Christopher T. Goodin
                                    DENNIS W. CHONG KEE
                                    W. KEONI SHULTZ
                                    CHRISTOPHER T. GOODIN

                                    and

                                    ECOFF CAMPAIN & TILLES, LLP
                                    A Limited Liability Partnership

                                    LAWRENCE C. ECOFF, Pro Hac Vice
                                    ALBERTO J. CAMPAIN, Pro Hac Vice
                                    GINNI G. KIM, Pro Hac Vice

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                                    KELLER AND CLEAVETTE MAE
                                    STANLEY FAMILY TRUST; CRAIG G.
                                    STANLEY, Individually; and MILLICENT
                                    ANDRADE, Individually




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